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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 1:05cr31-SPM

TAMIR MORGAN BUTLER,

           Defendant.
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              ORDER RESCHEDULING SENTENCING HEARING

        This cause comes before the Court on Defendant’s Unopposed Motion to

Continue or Reschedule Disposition Hearing (doc. 115). For good cause shown,

it is

        ORDERED AND ADJUDGED:

        1.    The motion (docs. 115) is granted.

        2.    Defendant’s sentencing hearing is rescheduled for 10:00 a.m. on

Thursday, February 9, 2006.

        DONE AND ORDERED this 31st day of January, 2006.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
